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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT CHARLESTON


 THE WEST VIRGINIA COALITION AGAINST
 DOMESTIC VIOLENCE, INC.,

                 Plaintiff,
                                                         Civil Action No. 2:19-cv-00434
                 v.                                      (Judge John T. Copenhaver, Jr.)

 PATRICK J. MORRISEY, in his official
 capacity as Attorney General for the
 State of West Virginia,

                 Defendant.


                    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiff The West Virginia Coalition

Against Domestic Violence (the “Coalition”) moves for summary judgment on all of its claims

against Defendant, Patrick J. Morrisey, in his official capacity as Attorney General for the State of

West Virginia. Specifically, the Court should conclude that: (1) two of the statutory provisions

challenged here, W. Va. Code § 61-7-14(d)(2)(A) & (C), facially violate the First Amendment

because they are content-based and speaker-based restrictions on speech that cannot overcome

strict scrutiny; (2) the challenged statute as a whole, as applied to the Coalition’s members, violates

their First Amendment rights to freely associate; (3) the statute as a whole, as applied to the

Coalition’s members, violates their due-process rights to personal security on their own private

property; and (4) the statute’s provisions are unconstitutionally vague under the Fourteenth

Amendment. For the reasons set forth in the contemporaneously filed Memorandum of Law, as

well as the declarations and exhibits attached thereto, the Court should grant summary judgment

to the Coalition.
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Dated: March 15, 2021                    Respectfully submitted,

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   Case 2:19-cv-00434 Document 38 Filed 03/15/21 Page 3 of 3 PageID #: 260




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                                                       Civil Action No. 2:19-cv-00434
               v.                                      (Judge John T. Copenhaver, Jr.)

 PATRICK J. MORRISEY, in his official
 capacity as Attorney General for the
 State of West Virginia,

               Defendant.



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2021, I electronically filed the foregoing brief with the

Clerk of The United States District Court for the Southern District of West Virginia using the

CM/ECF system. All participants are registered CM/ECF users and have been served by the

CM/ECF system.

                                                     /s/ Lucas R. White
                                                     Lucas R. White

                                                     Counsel for Plaintiff The West Virginia
                                                     Coalition Against Domestic Violence, Inc.
